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                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

DEREK BROWN and               *                         CIVIL ACTION
JULIA BARECKI-BROWN           *
                              *                         NO. 22-847
versus                        *
                              *                         SECTION “L”
DERRICK BURMASTER, SHAUN      *                         JUDGE FALLON
FERGUSON, and the CITY OF NEW *
ORLEANS                       *                         MAGISTRATE DIVISION “4”
                              *                         MAGISTRATE JUDGE ROBY
 ************************* *

                   DERRICK BURMASTER’S FIRST MOTION IN LIMINE

MAY IT PLEASE THE COURT:

           Derrick Burmaster hereby joins in and adopts the Memorandum in Support of Shaun

Ferguson’s and City of New Orleans’ Second Motion in Limine (Rec. Doc. 123-1) and the

Exhibit thereto (Rec. Doc. 123-2) and incorporates same as if set forth herein, in extenso.

       For the reasons stated therein, Derrick Burmaster’s First Motion in Limine should be

granted.

                                              Respectfully submitted:

                                              /s/ C. Theodore Alpaugh, III
                                              C. THEODORE ALPAUGH, III, T.A. (#02430)
                                              CLAUDE A. SCHLESINGER (#15042)
                                              GUSTE, BARNETT, SCHLESINGER & ALPAUGH, L.L.P.
                                              639 Loyola Avenue, Suite 2130
                                              New Orleans, Louisiana 70113-7103
                                              Telephone:     (504) 529-4141
                                              Facsimile:     (504) 561-0326
                                              Email:         cta@gustebarnett.com

                                              Attorneys for Defendant,
                                              DERRICK BURMASTER
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